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                               5   Attorney for Plaintiffs
                               6   The Blacklist Online, LLC and
                                   Shalon Doney
                               7
                               8
                               9                          UNITED STATES DISTRICT COURT
                              10                         CENTRAL DISTRICT OF CALIFORNIA
                              11
                                   THE BLACKLIST ONLINE, LLC, a                Case No. 22-cv-2378-DSF
                              12   Delaware limited liability complaint;
                                   SHALON DONEY, an individual,
                              13
                                   Plaintiffs,                                 NOTICE OF LODGING CONSENT TO
                              14                                               PROCEED BEFORE UNITED STATES
                                   vs.                                         MAGISTRATE JUDGE
GINGRAS LAW OFFICE, PLLC
  4802 E. RAY ROAD, #23-271




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     PHOENIX, AZ 85044




                                   MATTHEW WAGNER, an individual;
                              16   ADAM CAMBELL, an individual;

                              17   Defendants.

                              18
                              19          Pursuant to California Central District Local Rule LR 5–4.4 and this Court’s order
                              20   entered Sept. 27, 2022 (Doc. 19), notice is given that the parties consent to have this
                              21   matter proceed before a United States Magistrate Judge. An executed consent form is
                              22   lodged herewith.
                              23          DATED: October 5, 2022                   GINGRAS LAW OFFICE, PLLC
                              24
                              25
                                                                                   David S. Gingras, Esq.
                              26                                                   Attorney for Plaintiffs
                              27
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                              Case 2:22-cv-02378-SK Document 20 Filed 10/05/22 Page 2 of 2 Page ID #:123



                               1                               CERTIFICATE OF SERVICE
                               2
                                   I hereby certify that on October 5, 2022 I transmitted the attached document to the
                               3
                                   Clerk’s Office for ECF filing, and for electronic service on all counsel of record in this
                               4
                                   matter:
                               5
                               6   Daniel S. Miller, Esq.
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                                   Attorney for Defendants
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